          Case 1:21-cv-00621-MHC Document 17 Filed 05/27/21 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 JESSICA BLINKHORN,

          Plaintiff,
                                                                CIVIL ACTION FILE
 V.

                                                                NO. 1:21-CV-621-MHC
 CINCUENTA LLC D/B/A EL
 TESORO,

          Defendant.


                                                     ORDER

         The parties having informed the Court of settlement, the Court hereby

DIRECTS the Clerk to administratively close this case. These parties shall file a

dismissal upon fmalization of the settlement documents. If settlement negotiations

fail, the parties should promptly move to reopen the case.

         IT IS SO ORDERED this 27th day of May, 2021.




                                                      MARKH.COHEN
                                                      United States District Judge




           Administrative closure is a docket-control device used by the Court for statistical purposes. The
parties need only file a motion to reopen the case if settlement negotiations fail. Administrative closure will
not prejudice the rights of the parties to this litigation in any manner.
